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 4   Telephone: (916) 554-2763
 5
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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )       CR. S-06-186 DFL
                                      )
12                   Plaintiff,       )       STIPULATION AND ORDER
                                      )       CONTINUING STATUS CONFERENCE
13                                    )       AND EXCLUDING TIME UNDER THE
          v.                          )       SPEEDY TRIAL ACT
14                                    )
     KENNETH ARNOLD et al.            )
15                                    )
                     Defendant.       )
16                                    )
17        The status conference in the captioned action is currently
18   scheduled for December 14, 2006 at 10:00 a.m.        Defendant Willette
19   King has been provided a plea agreement.       Counsel for Ms. King needs
20   additional time to investigate to be able to advise her client
21   regarding the plea agreement.
22        Counsel for Mr. Arnold has met with him but needs additional
23   time to go over the provided discovery so that Mr. Arnold can
24   determine whether to resolve this case short of trial or set a trial
25   date in the matter.
26        Accordingly, the parties request that the status conference be
27   continued until January 18, 2007 10:00 a.m.         The continuance is
28   necessary for continuity of counsel and to give counsel time for

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 1   defense preparation.
 2        The parties also request that the court exclude time within
 3   which the trial of this matter must commence under the provisions of
 4   the Speedy Trial Act from December 14, 2006 through January 18, 2007
 5   for defense preparation and continuity of counsel under 18 U.S.C. §
 6   3161(h)(8)(B)(iv) (local Code T4).
 7                                            McGREGOR W. SCOTT
                                              United States Attorney
 8
 9   DATED: December 8, 2006            By     /s/ Mary L. Grad
                                              MARY L. GRAD
10                                            Assistant U.S. Attorney
11
                                              /S/ Candace Fry
12                                            CANDACE FRY
                                              Counsel for Willette King
13
                                              /s/ Caro Marks
14                                            CARO MARKS
                                              Counsel for Kenneth Arnold
15
          IT IS SO ORDERED.
16
17
     DATED: December 11, 2006         /s/ David F. Levi
18                                    HONORABLE DAVID F. LEVI
                                      United States District Judge
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